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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

                PALM TRAN, INC.)               Case No.: _____________
      AMALGAMATED TRANSIT      )
    UNION LOCAL 1577 PENSION   )               Hon.
 PLAN, Individually and On Behalf of
                               )
                                               CLASS ACTION COMPLAINT FOR
       All Others Similarly Situated,
                               )
                                               VIOLATIONS OF THE FEDERAL
                               )
                                               SECURITIES LAWS
                   Plaintiff,  )
               v.              )
                               )               JURY TRIAL DEMANDED
 CREDIT ACCEPTANCE             )
 CORPORATION, BRETT A.         )
 ROBERTS, and KENNETH S.       )
 BOOTH,                        )
                   Defendants. )
                               )

      Plaintiff Palm Tran, Inc. Amalgamated Transit Union Local 1577 (“Plaintiff”)

alleges the following upon personal knowledge as to allegations specifically

pertaining to Plaintiff and, as to all other matters, upon the investigation of counsel,

which included: (a) review and analysis of public filings with the United States

Securities and Exchange Commission (“SEC”) made by Credit Acceptance

Corporation (“Credit Acceptance” or the “Company”) and related parties; (b) review

and analysis of press releases and other publications disseminated by Credit

Acceptance and related parties; (c) review and analysis of shareholder

communications, conference calls and postings on Credit Acceptance’s website

concerning the Company’s public statements; (d) review and analysis of news

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articles concerning Credit Acceptance and related parties; (e) review of the

complaint filed by the Massachusetts Attorney General (“Mass AG Complaint”);

and (f) review of other publicly available information concerning Credit Acceptance,

related parties, and/or the Individual Defendants (as defined below).

I.    NATURE OF THE ACTION

      1.     This is a federal securities class action against Credit Acceptance and

certain of its officers for violations of the federal securities laws. Plaintiff brings

this action on behalf of all persons or entities that purchased or otherwise acquired

Credit Acceptance common stock from November 1, 2019 through August 28, 2020

inclusive (the “Class Period”), seeking to pursue remedies under the Securities

Exchange Act of 1934 (the “Exchange Act”). The Exchange Act claims allege that

certain defendants made a series of false and misleading statements and omissions,

which artificially inflated the Company’s stock price.

      2.     Credit Acceptance provides financing programs, and related products

and services to independent and franchised automobile dealers in the United States.

These programs are offered through a nationwide network of automobile dealers

who benefit from sales of vehicles to consumers who otherwise could not obtain

financing, as 95% of Credit Acceptance’s loans are considered subprime. The

Company’s tag line is “We change lives!” and the Company asserts its financing

programs give consumers “a second chance” in improving their credit scores.

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      3.     However, rather than change lives for the better or improve consumers

credit scores, Credit Acceptance employed a fraudulent scheme whereby it

knowingly provided consumer auto loans that it knew could not be repaid and in fact

consistently harmed consumers for its own financial benefit. The Company did this

despite knowing that it is illegal to knowingly provide loans that cannot be repaid

and also charged usurious interest rates that violated state law. Further, in order to

fund its operations, the Company then packaged these sub-standard loans in

securitizations and knowingly misrepresented the structure and composition of these

securitizations to unsuspecting investors.

      4.     The ugly truth about the Company’s predatory and illegal business

practices was revealed on August 28, 2020 when the Massachusetts Attorney

General filed the Mass AG Complaint against Credit Acceptance alleging that Credit

Acceptance has, for years, been making unfair and deceptive automobile loans to

thousands of Massachusetts consumers. In addition, the lawsuit specifically alleges

that Credit Acceptance provided its investors with false and/or misleading

information regarding the asset-backed securitizations they offered to investors, and

that the Company engaged in unfair debt collection practices as well.

      5.     As alleged in the Mass AG Complaint, Credit Acceptance has been

making high-risk, high-interest, subprime auto loans to Massachusetts borrowers

whom the Company knew, or should have known, were unable to repay their loans.

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In approving the loans, Credit Acceptance recklessly ignored the likelihood that the

borrowers would default on their loans and that a substantial portion of its loans to

high-risk, low-score borrowers would never be repaid — a practice that is in fact

illegal. Credit Acceptance also knew, based on its own collection, repossession, and

deficiency data, and on its historical default data, that the performance of its loans

was consistently abysmal, and that well over 50% of high-risk, low-score borrowers

would default, typically just a little more than a year into their loans.

      6.     However, while the Company profited on these high-risk, low-score

loans, default was catastrophic for borrowers, who lost their cars and down

payments, had their credit scores damaged, and were left with an average debt after

default of about $9,000—which Credit Acceptance continued to collect through

unlawful and aggressive collection processes. The Mass AG Complaint also detailed

how the Company’s collection employees continually harassed Massachusetts

consumers by calling them as often as eight times a day, while Massachusetts law

permits no more than two calls per week.

      7.     Additionally, these borrowers were also subject to hidden finance

charges on their Credit Acceptance loans as many borrowers were required to

purchase vehicle service contracts as a condition of obtaining loans from the

Company. In addition, the Company’s dealers added an extra markup to the prices

of vehicles they sold to high-risk borrowers with poor credit or low scores, and the

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extra markup was a hidden finance charge that was never disclosed to borrowers.

Including the amount of the hidden finance charges in the calculation of the

borrowers’ interest rates results in an actual interest rate higher than the

Massachusetts usury ceiling of 21% for virtually all of Credit Acceptance’s

borrowers subject to these charges.

      8.     Finally, the Mass AG Complaint alleges that, in order to fund its loans,

Credit Acceptance sold securities to Massachusetts investors by means of false or

misleading statements concerning the characteristics of the loans and contracts

collateralizing the securities. Notably, the Mass AG Complaint alleges that Credit

Acceptance “willfully deceived investors concerning the credit characteristics of the

loans.”

      9.     In response to the public disclosure of the Mass AG Complaint, Credit

Acceptance’s stock price fell $85.36 per share, or over 18%, to close at $374.07 per

share over two trading days ending on September 1, 2020.

      10.    As a result of Defendants' wrongful acts and omissions and the

precipitous decline in the market value of the Company's common stock, Plaintiff

and other Class members have suffered significant damages as throughout the Class

Period, Defendants made materially false and/or misleading and failed to disclose

material adverse facts about the Company’s business, operations, and adherence to

the appropriate laws and regulations. Specifically, Defendants failed to disclose to

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investors: (i) that the Company was topping off the pools of loans that they packaged

and securitized with higher-risk loans; (ii) that Credit Acceptance was making high-

interest subprime auto loans to borrowers that the Company knew borrowers would

be unable to repay; (iii) that the borrowers were subject to hidden finance charges,

resulting in loans exceeding the usury rate ceiling mandated by state law; (iv) that

Credit Acceptance took excessive and illegal measures to collect debt from defaulted

borrowers; (v) that, as a result, the Company was likely to face regulatory scrutiny

and possible penalties from various regulators or lawsuits; and (vi) that, as a result

of the foregoing, Defendants positive statements about the Company’s business,

operations, and adherence to appropriate laws and regulations were materially

misleading and/or lacked a reasonable basis.

II.   JURISDICTION AND VENUE

      11.    The claims asserted herein arise under Sections 10(b) and 20(a) of the

Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated

thereunder by the SEC (17 C.F.R. § 240.10b-5).

      12.    This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. § 1331, Section 27 of the Exchange Act (15 U.S.C. § 78aa).

      13.    Venue is proper in this Judicial District pursuant to 28 U.S.C. §

1391(b), Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)), as the Company

conducts business in this Judicial District. The Company maintains its principal

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executive offices in this Judicial District. Substantial acts in furtherance of the

alleged fraud or the effects of the fraud have occurred in this Judicial District. Many

of the acts charged herein, including the dissemination of materially false and/or

misleading information, occurred in substantial part in this Judicial District.

   III.     PARTIES

      14.     Plaintiff Palm Tran, Inc. Amalgamated Transit Union Local 1577

purchased Credit Acceptance common stock during the Class Period as set forth in

the accompanying certification, incorporated by reference herein, and suffered

damages as a result of the federal securities law violations alleged herein.

      15.     Defendant Credit Acceptance is incorporated under the laws of the

Michigan and maintains its principal executive offices at 25505 W. 12 Mile Road,

Southfield, Michigan 48034. Credit Acceptance common stock trades on the

NASDAQ under the symbol “CACC.”

      16.     Defendant Brian A. Roberts (“Roberts”) has served at all relevant times

as the Chief Executive Officer (“CEO”) of Credit Acceptance and a member of the

Company’s Board of Directors.

      17.     Defendant Kenneth S. Booth (“Booth”) has served at all relevant times

as the Chief Financial Officer (“CFO”) of Credit Acceptance.

      18.     Defendants Roberts and Booth are referred to as the “Individual

Defendants.”

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      19.   Credit Acceptance and the Individual Defendants are referred to as the

“Defendants.”

      20.   During the Class Period, the Individual Defendants, as senior executive

officers and/or directors of Credit Acceptance, were privy to confidential,

proprietary and material adverse non-public information concerning Credit

Acceptance, its operations, finances, financial condition and present and future

business prospects via access to internal corporate documents, conversations and

connections with other corporate officers and employees, attendance at management

and/or board of directors meetings and committees thereof, and via reports and other

information provided to them in connection therewith. Because of their possession

of such information, the Individual Defendants knew or recklessly disregarded that

the adverse facts specified herein had not been disclosed to, and were being

concealed from, the investing public.

      21.   The Individual Defendants are liable as direct participants in the wrongs

complained of herein. In addition, the Individual Defendants, by reason of their

status as senior executive officers and/or directors, were “controlling persons”

within the meaning of Section 20(a) of the Exchange Act and had the power and

influence to cause the Company to engage in the unlawful conduct complained of

herein. Because of their positions of control, the Individual Defendants were able



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to and did, directly or indirectly, control the conduct of Credit Acceptance’s

business.

      22.    The Individual Defendants, because of their positions with the

Company, controlled and/or possessed the authority to control the contents of its

reports, press releases and presentations to securities analysts, and through them, to

the investing public. The Individual Defendants were provided with copies of the

Company’s reports and publicly disseminated documents alleged herein to be

misleading, prior to or shortly after their issuance, and had the ability and

opportunity to prevent their issuance or cause them to be corrected. Thus, the

Individual Defendants had the opportunity to commit the fraudulent acts alleged

herein.

      23.    As senior executive officers and/or directors and as controlling persons

of a publicly traded company whose common stock is, and is, registered with the

SEC pursuant to the Exchange Act, and were traded on the NASDAQ and governed

by the federal securities laws, the Individual Defendants had a duty to disseminate

promptly accurate and truthful information with respect to Credit Acceptance’s

financial condition and performance, growth, operations, financial statements,

business, products, markets, management, earnings, and present and future business

prospects, to correct any previously issued statements that had become materially

misleading or untrue, so the market price of Credit Acceptance’s common stock

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would be based on truthful and accurate information. The Individual Defendants’

misrepresentations and omissions during the Class Period violated these specific

requirements and obligations.

      24.    The Individual Defendants are liable as participants in a fraudulent

scheme and course of business that operated as a fraud or deceit on purchasers of

Credit Acceptance’s publicly traded common stock by disseminating materially

false and misleading statements and/or concealing material adverse facts.

IV.   SUBSTANTIVE ALLEGATIONS

      A.     Background

      25.    Credit Acceptance is a subprime auto finance company providing loans

and other related financial products that enable automobile dealers to sell vehicles

to consumers. In 2019, Credit Acceptance funded about 370,000 subprime auto loans

nation-wide of which over 95% were subprime loans. A substantial portion of Credit

Acceptance’s loans are never repaid. The Company also securitizes and sells its

loans to investors.

      26.    The decision to fund a loan and the amount of the funding are made

solely by Credit Acceptance. The Company performs all significant functions

relating to the process of the loan application, including assessment of the

application and verification of consumer information, such as employment, income,

and residence.

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      Collection Rates

      27.    Credit Acceptance’s expected collection rate is the primary driver of

the funding payment for its loans. Based on the forecast of expected collections, the

Company calculates the payment to the dealer at a level designed to maximize the

Company’s economic profit on the loan. Credit Acceptance expects to collect

substantially less than the total amount of the loan, and its payment for the loan is

substantially less than the amount of the Company’s expected collection. Credit

Acceptance’s ability to accurately forecast collections under its loans is critical to

the Company’s business.

      28.    When the Company's borrowers miss loan payments, the Company’s

collection employees immediately make a collection call to the borrower, typically

within one day of a missed payment due date. The Mass AG Complaint alleged that

it was Credit Acceptance’s stated policy to call or attempt to call any individual

delinquent borrower as many as 8 times per day, while Massachusetts law permits

no more than two collection calls per week.

      29.    Credit Acceptance’s loans are virtually all subprime. But many

borrowers—those with low expected collection rates or “scores”—have experienced

intense forms of financial distress, such as previous bankruptcies, foreclosures,

repossessions, judgments, or garnishment of wages, and are at higher than average

risk of nonpayment of their Credit Acceptance loans. While Credit Acceptance

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profits from these high-risk, low-score Massachusetts loans, the vast majority of the

high-risk borrowers default on their loans.

      30.      For borrowers, default is a financial disaster. When borrowers default,

their cars are repossessed by Credit Acceptance and sold at auction. After

repossession, the borrower’s debt remains, but not the asset. The Company’s policy

is to continue to collect the debt indefinitely (or until it is paid). Tellingly, while

Credit Acceptance markets its loans to consumers as an “opportunity to improve

your credit score,” the defaulting borrowers end up with substantially worse credit

than before.

      31.      The expected collection rate of an average Credit Acceptance loan has

declined from 75.6% in 2013 to just 66.0%, last year. In spite of the poor

performance of the Company’s high-risk low-score loans, Credit Acceptance has

steadily increased the percentage of high-risk low-score loans it makes to its

borrowers.

      32.      When Credit Acceptance approves and funds high-risk loans to

borrowers, the Company does not determine nor take into account the likelihood that

the borrower would default on the loan, and does not consider the default rate,

prospectively or retrospectively, when it decided to approve or fund its loans. As a

result, there was no level of expected default at which the Company does not approve

or fund a high-risk loan.

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      33.    As described further below, Credit Acceptance has told investors that

its loans “entail a higher risk of delinquency, default, and repossession and higher

losses than loans made to consumers with better credit.” The Company collects and

services its own loans, and as a part of its collection and servicing activities

maintains data on the payment and nonpayment of the loans and is aware of the

default status of each of its loans. These collection and servicing efforts show that

Credit Acceptance knew which loans defaulted, how many of the loans defaulted,

and the scores of the loans that defaulted.

      Hidden Finance Charges

      34.    Credit Acceptance also provides dealers with access to vehicle service

contracts (“VSC”) which are then sold to the Company’s borrowers. A VSC is a

promise to pay for the repair or replacement of certain components of the vehicle in

the event of a mechanical failure. The VSCs are purchased by borrowers when they

buy their cars, and the retail cost of the VSC is financed as part of the Credit

Acceptance loan. The Company only permits dealers to finance the purchase of

VSCs offered by Credit Acceptance, and as alleged in the Mass AG Complaint, the

Company required purchase of a VSC as a condition of obtaining a Credit

Acceptance—a blatant hidden finance charge.

      35.    But this finance charge was not disclosed to Credit Acceptance

borrowers, resulting in borrowers receiving inaccurate and understated disclosures

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of the finance charges of their loans. The VSC cost must also be included in the

calculation of the borrower’s interest rate on their Credit Acceptance loan. Since

virtually all of the Company’s loans are made at, or very close to, the 21%

Massachusetts usury ceiling for interest rates, and properly including the amount of

the hidden finance charge attributable to the required VSC causes the borrower’s

interest rate to be higher than the 21%, in violation of state law. The failure to

disclose hidden finance charges in CAC loans is an unfair or deceptive act or

practice.

      Loan Securitization

      36.    Additionally, the Mass AG Complaint describes the issues with the

Company’s loan securitization process and information provided to investors.

Typically, when Credit Acceptance securitizes its loans and sells them to investors,

the offering documents describe the characteristics of the loans in order to disclose

to investors the nature of the collateral underlying the securities. Typically, however,

the offering documents for Credit Acceptance’s securities only describe the

characteristics of a portion of the loans, those committed to the securities before a

specified date, referred to in the offering memorandum as the “Cut-off Date,” and

transferred to the security trust as of the Closing Date of the securitization. Loans

that will be selected after the Closing Date, during what the offering documents refer

to as the “Revolving Period,” are not described in the offering documents.

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      37.       Credit Acceptance deliberately and intentionally selected loans after the

Closing Date that had credit characteristics that were materially worse than the

characteristics of the loans Credit Acceptance selected and included in the

securitization prior to the Closing Date. Credit Acceptance did so consistently and

repeatedly, in successive securitizations. Credit Acceptance told investors that it did

not expect the credit characteristics of the loan to differ materially when Credit

Acceptance knew that the characteristics were materially different because Credit

Acceptance itself selected loans after the Closing Dates with scores that were

materially different from the scores of the loans selected prior to the Closing Date.

Credit Acceptance willfully deceived investors concerning the credit characteristics

of the loans.

      38.       The Mass AG Complaint states that “Credit Acceptance knew or should

have known that the statements in its offering documents that Credit Acceptance

‘does not expect that the characteristics of the Loans and related Contracts purchased

during the Revolving Period will be materially different from those transferred on

the Closing Date’ are materially false and misleading.”

      B.        Defendants’ Materially False and Misleading Statements

      39.       The Class Period begins on November 1, 2019 when Credit Acceptance

released its financial results for the third quarter of 2019. The Company announced

consolidated net income of $165.4 million, or $8.73 per diluted share, for the three

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months ended September 30, 2019 compared to consolidated net income of $151.0

million, or $7.75 per diluted share, for the same period in 2018. Additionally, the

adjusted net income, a non-GAAP financial measure, for the three months ended

September 30, 2019 was $168.4 million, or $8.89 per diluted share, compared to

$147.2 million, or $7.56 per diluted share, for the same period in 2018.

      40.    Also, on that date, Credit Acceptance filed its Quarterly Report Form

10-Q with the SEC, reporting the Company’s financial and operating results for the

quarter ended September 30, 2019 (the “November 2019 10-Q”). In the 10-Q, the

Company describes its business as “offer[ing] financing programs that enable

automobile dealers to sell vehicles to consumers, regardless of their credit history.”

The Company further represented that “[w]ithout our financing programs,

consumers are often unable to purchase vehicles or they purchase unreliable ones.

Further, as we report to the three national credit reporting agencies, an important

ancillary benefit of our programs is that we provide consumers with an opportunity

to improve their lives by improving their credit score and move on to more

traditional sources of financing.”

      41.    The November 2019 10-Q also highlighted the Company’s continuous

evaluation of collection rates on each loan:

      We monitor and evaluate the credit quality of Consumer Loans on a
      monthly basis by comparing our current forecasted collection rates to
      our initial expectations. We use a statistical model that considers a

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      number of credit quality indicators to estimate the expected collection
      rate for each Consumer Loan at the time of assignment. The credit
      quality indicators considered in our model include attributes contained
      in the consumer’s credit bureau report, data contained in the consumer’s
      credit application, the structure of the proposed transaction, vehicle
      information and other factors. We continue to evaluate the expected
      collection rate of each Consumer Loan subsequent to assignment
      primarily through the monitoring of consumer payment behavior. Our
      evaluation becomes more accurate as the Consumer Loans age, as we
      use actual performance data in our forecast. Since all known, significant
      credit quality indicators have already been factored into our forecasts
      and pricing, we are not able to use any specific credit quality indicators
      to predict or explain variances in actual performance from our initial
      expectations. Any variances in performance from our initial
      expectations are the result of Consumer Loans performing differently
      than historical Consumer Loans with similar characteristics. We
      periodically adjust our statistical pricing model for new trends that we
      identify through our evaluation of these forecasted collection rate
      variances.

      When overall forecasted collection rates underperform our initial
      expectations, the decline in forecasted collections has a more adverse
      impact on the profitability of the Purchased Loans than on the
      profitability of the Dealer Loans. For Purchased Loans, the decline in
      forecasted collections is absorbed entirely by us. For Dealer Loans, the
      decline in the forecasted collections is substantially offset by a decline
      in forecasted payments of Dealer Holdback.

      42.   Appended as an exhibit to the November 2019 10-Q were signed

certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”), wherein the

Individual Defendants certified that “the [November 2019 10-Q] fully complies with

the requirements of Section 13(a) or 15(d) of the Securities Exchange Act of 1934,”

and that “the information contained in the [November 2019 10-Q] fairly presents, in



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all material respects, the financial condition and results of operations of the

Company.”

      43.   On February 11, 2020, Credit Acceptance filed their Annual Report

Form 10-K for the quarter and full year ended December 31, 2019 (the “2019 10-

K"). Under “Risk Factors,” the Company writes how important it is for the Company

to accurately forecast and estimate the amount and timing on future collections:

      Our inability to accurately forecast and estimate the amount and
      timing of future collections could have a material adverse effect on
      results of operations.

      Substantially all of the Consumer Loans assigned to us are made to
      individuals with impaired or limited credit histories or higher debt-to-
      income ratios than are permitted by traditional lenders. Consumer
      Loans made to these individuals generally entail a higher risk of
      delinquency, default and repossession and higher losses than loans
      made to consumers with better credit. Since most of our revenue and
      cash flows from operations are generated from these Consumer Loans,
      our ability to accurately forecast Consumer Loan performance is
      critical to our business and financial results. At the time of assignment,
      we forecast future expected cash flows from the Consumer
      Loan. Based on these forecasts, which include estimates for wholesale
      vehicle prices in the event of vehicle repossession and sale, we make
      an advance or one-time purchase payment to the related Dealer at a
      level designed to maximize economic profit, a non-GAAP financial
      measure. We continue to forecast the expected collection rate of each
      Consumer Loan subsequent to assignment. These forecasts also serve
      as a critical assumption in our accounting for recognizing finance
      charge income and determining our allowance for credit losses.

      44.   Additionally, Credit Acceptance’s 2019 10-K stated repeatedly how the

Company, and its network of dealer-partners, comply with applicable state and


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federal laws and regulations, as well as underwriting guidelines set forth by the

Company:

      Dealer Servicing Agreement. As a part of the enrollment process, a new
      Dealer is required to enter into a Dealer servicing agreement with Credit
      Acceptance that defines the legal relationship between Credit
      Acceptance and the Dealer. The Dealer servicing agreement assigns the
      responsibilities for administering, servicing, and collecting the amounts
      due on Consumer Loans from the Dealers to us. Under the typical
      Dealer servicing agreement, a Dealer represents that it will only assign
      Consumer Loans to us that satisfy criteria established by us, meet
      certain conditions with respect to their binding nature and the status of
      the security interest in the purchased vehicle, and comply with
      applicable state and federal laws and regulations.


                                       * * *

      While a Dealer can submit any legally compliant Consumer Loan to us
      for assignment, the decision whether to provide funding to the Dealer
      and the amount of any funding is made solely by us. Through our
      Dealer Service Center, we perform all significant functions relating to
      the processing of the Consumer Loan applications and bear certain
      costs of Consumer Loan assignment, including the cost of assessing the
      adequacy of Consumer Loan documentation, compliance with
      underwriting and legal guidelines and the cost of verifying
      employment, residence and other information provided by the Dealer.

      We audit Consumer Loan files for legal and underwriting guidelines on
      a daily basis in order to assess whether our Dealers are operating in
      accordance with the terms and conditions of our Dealer servicing
      agreement.

                                      * * *

             Our business model allows us to share the risk and reward of
      collecting on the Consumer Loans with the Dealers, more so with the
      Portfolio Program than the Purchase Program. Such sharing is intended

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     to motivate the Dealer to assign better quality Consumer Loans, follow
     our underwriting guidelines, comply with various legal regulations,
     meet our credit compliance requirements and provide appropriate
     service and support to the consumer after the sale. In addition, our
     Dealer Service Center works closely with Dealers to assist them in
     resolving any documentation deficiencies or funding stipulations. We
     believe this arrangement causes the interests of the Dealer, the
     consumer and us to all be aligned.

                                      * * *

         Regulation
        Our business is subject to laws and regulations, including the Truth
     in Lending Act, the Equal Credit Opportunity Act, the Fair Credit
     Reporting Act and various other state and federal laws and regulations.
     These laws and regulations, among other things, require licensing and
     qualification; limit interest rates, fees and other charges associated with
     the Consumer Loans assigned to us; require specified disclosures by
     Dealers to consumers; govern the sale and terms of ancillary products;
     and define the rights to repossess and sell collateral. Failure to comply
     with these laws or regulations could have a material adverse effect on
     us by, among other things, limiting the jurisdictions in which we may
     operate, restricting our ability to realize the value of the collateral
     securing the Consumer Loans, making it more costly or burdensome to
     do business or resulting in potential liability. The volume of new or
     modified laws and regulations has increased in recent years and has
     increased significantly in response to issues arising with respect to
     consumer lending.

         45. Furthermore, the 2019 10-K described the process for the assignment

of consumer loans to the Company using their proprietary credit scoring system, as

well as the collection efforts done by Company employees to ensure payment of

loans:




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     A Consumer Loan is originated by the Dealer when a consumer enters
     into a contract with a Dealer that sets forth the terms of the agreement
     between the consumer and the Dealer for the payment of the purchase
     price of the vehicle. The amount of the Consumer Loan consists of the
     total principal and interest that the consumer is required to pay over the
     term of the Consumer Loan. Consumer Loans are written on a contract
     form provided by us. Although the Dealer is named in the Consumer
     Loan contract, the Dealer generally does not have legal ownership of
     the Consumer Loan for more than a moment and we, not the Dealer, are
     listed as lien holder on the vehicle title. Consumers are obligated to
     make payments on the Consumer Loan directly to us, and any failure to
     make such payments will result in our pursuing payment through
     collection efforts.


     All Consumer Loans submitted to us for assignment are processed
     through our Credit Approval Processing System (“CAPS”). CAPS
     allows Dealers to input a consumer’s credit application and view the
     response from us via the Internet. CAPS allows Dealers to: (1) receive
     a quick approval from us; (2) interact with our proprietary credit scoring
     system to optimize the structure of each transaction prior to delivery;
     and (3) create, electronically execute and print Consumer Loan
     documents. All responses include the amount of funding (advance for
     a Dealer Loan or purchase price for a Purchased Loan), as well as any
     stipulations required for funding. The amount of funding is determined
     using a formula which considers a number of factors including the
     timing and amount of cash flows expected on the related Consumer
     Loan and our target return on capital at the time the Consumer Loan is
     submitted to us for assignment. The estimated future cash flows are
     determined based upon our proprietary credit scoring system, which
     considers numerous variables, including attributes contained in the
     consumer’s credit bureau report, data contained in the consumer’s
     credit application, the structure of the proposed transaction, vehicle
     information and other factors, to calculate a composite credit score that
     corresponds to an expected collection rate. Our proprietary credit
     scoring system forecasts the collection rate based upon the historical
     performance of Consumer Loans in our portfolio that share similar
     characteristics. The performance of our proprietary credit scoring
     system is evaluated monthly by comparing projected to actual

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      Consumer Loan performance. Adjustments are made to our proprietary
      credit scoring system as necessary.

                                      * * *

      Servicing. Our largest group of collectors services Consumer Loans that
      are in the early stages of delinquency. Collection efforts typically
      consist of placing a call to the consumer within one day of the missed
      payment due date, although efforts may begin later for some segments
      of accounts. Consumer Loans are segmented into dialing pools by
      various phone contact profiles in an effort to efficiently contact the
      consumer. We utilize text messaging as an additional means to contact
      the consumer. Our collectors work with consumers to attempt to reach
      a solution that will help them avoid becoming further past due and get
      them current where possible.

      46.     Appended as an exhibit to the 2019 10-K were substantively the same

SOX certifications as referenced in ¶ 42, supra, which were signed by the Individual

Defendants.

      47.     Additionally, the Quarterly Report 10-Q’s filed by Credit Acceptance

on May 27, 2020 and July 31, 2020, respectively, also contained substantively the

same representations as referenced in ¶ 41, supra, concerning Credit Acceptance’s

monthly evaluations of the credit quality for the Company’s subprime loans. The 10-

Q’s also contained the same SOX certifications as referenced in ¶ 42, supra, which

were signed by the Individual Defendants.

      48.     The above statements in ¶¶ 39-47 were materially false and/or

misleading and failed to disclose material adverse facts about the Company’s

business, operations, and adherence to the appropriate laws and regulations.

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Specifically, Defendants failed to disclose to investors: (i) that the Company was

topping off the pools of loans that they packaged and securitized with higher-risk

loans; (ii) that Credit Acceptance was making high-interest subprime auto loans to

borrowers that the Company knew borrowers would be unable to repay; (iii) that the

borrowers were subject to hidden finance charges, resulting in loans exceeding the

usury rate ceiling mandated by state law; (iv) that Credit Acceptance took excessive

and illegal measures to collect debt from defaulted borrowers; (v) that, as a result,

the Company was likely to face regulatory scrutiny and possible penalties from

various regulators or lawsuits; and (vi) that, as a result of the foregoing, Defendants

positive statements about the Company’s business, operations, and adherence to

appropriate laws and regulations were materially misleading and/or lacked a

reasonable basis.

      C.     The Truth Is Revealed

      49.    On August 28, 2020, the Massachusetts Attorney General, Maura

Healey (“Healey”), filed the stunning Mass AG Complaint in Suffolk County

Superior Court against Credit Acceptance for allegedly making unfair and deceptive

auto loans to thousands of Massachusetts consumers, providing investors with false

or misleading information regarding auto securities they offered, and engaging in

unfair debt collection practices.



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      50.    The complaint alleged that since 2013, Credit Acceptance failed to

inform investors that the Company topped off the pools of loans that they packaged

and securitized with higher-risk loans, despite claiming otherwise in disclosures to

investors. The complaint also alleged that Credit Acceptance has made high-interest

subprime auto loans to Massachusetts borrowers that the Company knew borrowers

would be unable to repay, in violation of state law. The Complaint states “[Credit

Acceptance’s] business model is based on making loans to borrowers—including

high-risk borrowers with low [credit] scores—who are not likely to repay their loans,

and [Credit Acceptance’s] profit model involves making money on loans that are not

repaid.” As such, Credit Acceptance “recklessly ignored the likelihood that the

borrowers would default on their loans.”

      51.    Further, the lawsuit stated that while the Company profited, its

borrowers had their credit ruined, lost vehicles or their down payments, and were

left with thousands of dollars in debt. Additionally, the borrowers were also subject

to hidden finance charges, resulting in loans exceeding the usury rate ceiling of 21%,

which is mandated by state law. The Mass AG Complaint also alleged that the Credit

Acceptance took excessive and illegal measures to collect debt from defaulted

borrowers, including sending faulty notices to borrowers with repossessed vehicles,

harassing consumers with unlawfully repetitious collections calls, and overcharging

consumers on their deficiencies. The Mass AG Complaint alleges that Credit

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Acceptance “was aware that consumers found the collection attempts to be

oppressive and harassing.”

         52.   The Mass AG Complaint alleges that Credit Acceptance defrauded as

many as 24,000 1 borrowers over a six-year period in Massachusetts, and seeks as

much as $120 million in damages, or $5,000 per violation. Also, the Mass AG

Complaint is seeking an injunction preventing the Company from continuing its

current unlawful loan practices under its current business model.

         53.   On August 31, 2020, the Massachusetts AG published a press release

announcing the lawsuit against Credit Acceptance. In the press release, AG Healey

stated, “This company made unaffordable and illegal loans to borrowers, causing

them to fall into thousands of dollars of debt and even lose their vehicles. We are

taking a close look at this industry and we will not allow companies to profit by

violating our laws and exploiting consumers.” Additionally, the release points out

that this lawsuit is part of AG Healey’s “review of securitization practices in the

subprime auto market—an industry-wide investigation that remains ongoing.”

          49. Analysts at Credit Suisse noted that the Massachusetts lawsuit is

    particularly relevant as the “evidence gathered and arguments made in the [Mass

    AG Complaint] could strengthen” other state AG investigations and lawsuits. The


1
 Between 2013 and 2019, Credit Acceptance funded approximately 4,000 subprime
used car loans annually in Massachusetts, with an aggregate value of $458 million.
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analysts also wondered if the lawsuit will result in material changes to business

practices or origination levels, because “[i]f the company has to change business

practices this could result in lower expected collections and a write down to book

value.”

      54.    In response to the public disclosure of the Mass AG Complaint, Credit

Acceptance’s stock price declined precipitously from $459.43 at close on August

28, 2020 down to $374.07 at the close of trading on September 1, 2020—an $85.36

drop equating to an 18% two-day decline in share price.

V.    CLASS ACTION ALLEGATIONS

      55.    Plaintiff brings this class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons and entities

who purchased or otherwise acquired Credit Acceptance common stock from

November 1, 2019 through August 28, 2020, and who were damaged thereby (the

“Class”). Excluded from the Class are Defendants, members of the immediate family

of each of the Individual Defendants, any subsidiary or affiliate of Credit Acceptance

and the directors, officers and employees of the Company or its subsidiaries or

affiliates, or any entity in which any excluded person has a controlling interest, and

the legal representatives, heirs, successors and assigns of any excluded person.

      56.    The members of the Class are so numerous that joinder of all members

is impracticable. While the exact number of Class members is unknown to Plaintiff

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at this time and can only be ascertained through appropriate discovery, Plaintiff

believes that there are hundreds or thousands of members in the proposed Class.

Throughout the Class Period, Credit Acceptance’s common stock was actively

traded on the NASDAQ (an open and efficient market) under the symbol “CACC.”

Millions of Credit Acceptance shares were traded publicly during the Class Period

on the NASDAQ. As of September 30, 2020, Credit Acceptance had over 17 million

shares of common stock outstanding. Record owners and the other members of the

Class may be identified from records maintained by Credit Acceptance and/or its

transfer agents and may be notified of the pendency of this action by mail, using a

form of notice similar to that customarily used in securities class actions.

      57.    Plaintiff’s claims are typical of the claims of the other members of the

Class as all members of the Class are similarly affected by Defendants’ wrongful

conduct in violation of federal law that is complained of herein. Plaintiff does not

have interests adverse to the Class.

      58.    Plaintiff will fairly and adequately protect the interests of the other

members of the Class and has retained The Miller Law Firm, P.C. and Saxena White

P.A.; counsel with significant experience and expertise leading complex class action

and securities litigations.




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      59.    Common questions of law and fact exist as to all members of the Class

and predominate over any questions solely affecting individual members of the

Class. Among the questions of law and fact common to the Class are:

             a)    whether the federal securities laws were violated by Defendants’
                   acts and omissions as alleged herein;

             b)    whether Defendants participated in and pursued the common
                   course of conduct complained of herein;

             c)    whether documents, press releases, and other statements
                   disseminated to the investing public and the Company’s
                   shareholders during the Class Period misrepresented material
                   facts about the business, finances, and prospects of Credit
                   Acceptance;

             d)    whether statements made by Defendants to the investing public
                   during the Class Period misrepresented and/or omitted to
                   disclose material facts about the business, finances, value,
                   performance and prospects of Credit Acceptance;

             e)    whether the market price of Credit Acceptance common stock
                   during the Class Period was artificially inflated due to the
                   material misrepresentations and failures to correct the material
                   misrepresentations complained of herein; and

             f)    the extent to which the members of the Class have sustained
                   damages and the proper measure of damages.

      60.    Defendants have acted on grounds generally applicable to the Class

with respect to the matters complained of herein, thereby making appropriate the

relief sought herein with respect to the Class as a whole.




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      61.    A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy since joinder of all members is

impracticable. Furthermore, as the damages suffered by individual Class members

may be relatively small, the expense and burden of individual litigation make it

impossible for members of the Class to individually redress the wrongs done to them.

There will be no difficulty in the management of this action as a class action.

VI.   UNDISCLOSED ADVERSE FACTS

      62.    The market for Credit Acceptance common stock was an open, well-

developed and efficient market at all relevant times. As a result of the materially

false and misleading statements and omissions described herein, Credit Acceptance

common stock traded at artificially inflated prices during the Class Period. Said

statements and omissions were materially false and misleading in that they failed to

disclose material adverse non-public information and misrepresented the truth about

the Company, as well as its business, accounting, financial operations and prospects,

as alleged herein. Plaintiff and the other members of the Class purchased or

otherwise acquired Credit Acceptance common stock relying upon the integrity of

the market price of the Company’s common stock and market information relating

to Credit Acceptance, and have been damaged thereby.

      63.    At all relevant times, the material misrepresentations and omissions

particularized in this Complaint directly or proximately caused or were a substantial

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contributing cause of the damages sustained by Plaintiff and the other members of

the Class.

VII. LOSS CAUSATION

        64.   During the Class Period, as detailed herein, the Defendants made a

series of false and misleading statements and omissions that artificially inflated the

prices of Credit Acceptance common stock and operated as a fraud or deceit on Class

Period purchasers of Credit Acceptance common stock by failing to disclose to

investors material adverse facts. When Defendants’ misrepresentations and

fraudulent conduct were disclosed, the price of Credit Acceptance common stock

fell precipitously as the prior inflation came out of the prices of the Company’s

common stock. As a result of their purchases of Credit Acceptance common stock

during the Class Period, Plaintiff and the other Class members suffered economic

loss.

        65.   By Defendants’ failing to disclose the true state of the Company’s

business, investors were not aware of the true state of the Company’s financial status.

Therefore, the Defendants presented a misleading picture of Credit Acceptance’s

business practices and procedures. Thus, instead of truthfully disclosing during the

Class Period the true state of the Company’s business, Defendants caused Credit

Acceptance to conceal the truth.



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      66.    The decline in the price of Credit Acceptance’s common stock after the

truth came to light was a direct result of the nature and extent of the Defendants’

fraud finally being revealed to investors and the market. The timing and magnitude

of Credit Acceptance’s common stock price decline negate any inference that the

loss suffered by Plaintiff and the other Class members was caused by changed

market conditions, macroeconomic or industry factors, or Company-specific facts

unrelated to the Defendants’ fraudulent conduct. The economic loss suffered by

Plaintiff and the other Class members was a direct result of the Defendants’

fraudulent scheme to artificially inflate the prices of Credit Acceptance common

stock and the subsequent decline in the value of Credit Acceptance common stock

when the Defendants’ prior misrepresentations and other fraudulent conduct were

revealed.

VIII. SCIENTER ALLEGATIONS

      67.    As alleged herein, the Individual Defendants acted with scienter in that

the Individual Defendants knew that the public documents and statements issued or

disseminated in the name of the Company during the Class Period were materially

false and misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated

or acquiesced in the issuance or dissemination of such statements or documents as

primary violations of the federal securities laws.

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      68.   As set forth herein, the Individual Defendants, by virtue of their receipt

of information reflecting the true facts regarding Credit Acceptance, their control

over, receipt and/or modification of Credit Acceptance’s allegedly materially

misleading statements and omissions, and/or their positions with the Company

which made them privy to confidential information concerning Credit Acceptance,

participated in the fraudulent scheme alleged herein.

IX.   APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD-ON-
      THE-MARKET DOCTRINE

      69.   At all relevant times, the market for Credit Acceptance’s common stock

was an efficient market for the following reasons, among others:

            a)     Credit Acceptance’s common stock met the requirements for
                   listing, and were listed and actively traded on the NASDAQ, a
                   highly efficient market;

            b)     As a regulated issuer, Credit Acceptance filed periodic public
                   reports with the SEC and the NASDAQ;

            c)     Credit Acceptance’s common stock was followed by securities
                   analysts employed by major brokerage firms who wrote reports
                   which were distributed to the sales force and certain customers
                   of their respective brokerage firms. Each of these reports was
                   publicly available and entered the public marketplace; and

            d)     Credit Acceptance regularly issued press releases which were
                   carried by national newswires. Each of these releases was
                   publicly available and entered the public marketplace.

      70.   As a result of the foregoing, the market for Credit Acceptance’s

common stock promptly digested current information regarding Credit Acceptance

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from all publicly available sources and reflected such information in Credit

Acceptance’s stock price. Under these circumstances, all purchasers of Credit

Acceptance’s common stock during the Class Period suffered similar injury through

their purchase of Credit Acceptance’s common stock at artificially inflated prices

and a presumption of reliance applies.

      71.    A Class-wide presumption of reliance is also appropriate in this action

under the U.S. Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United

States, 406 U.S. 128 (1972), because Plaintiff’s fraud claims are grounded in

Defendants’ omissions of material fact of which there is a duty to disclose. As this

action involves Defendants’ failure to disclose material adverse information

regarding Credit Acceptance’s business practices, financial results and condition,

and the Company’s internal controls—information that Defendants were obligated

to disclose during the Class Period but did not—positive proof of reliance is not a

prerequisite to recovery. All that is necessary is that the facts withheld be material

in the sense that a reasonable investor might have considered such information

important in the making of investment decisions.

X.    NO SAFE HARBOR

      72.    The federal statutory safe harbor provided for forward-looking

statements under certain circumstances does not apply to any of the allegedly false

statements pleaded in this Complaint. The statements alleged to be false and

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misleading herein all relate to then-existing facts and conditions. In addition, to the

extent certain of the statements alleged to be false may be characterized as forward-

looking, they were not identified as “forward-looking statements” when made, and

there were no meaningful cautionary statements identifying important factors that

could cause actual results to differ materially from those in the purportedly forward-

looking statements.

      73.    In the alternative, to the extent that the statutory safe harbor is

determined to apply to any forward-looking statements pleaded herein, Defendants

are liable for those false forward-looking statements because at the time each of

those forward-looking statements was made, the speaker had actual knowledge that

the forward-looking statement was materially false or misleading, and/or the

forward-looking statement was authorized or approved by an executive officer of

Credit Acceptance who knew that the statement was false when made.

XI. CLAIMS AGAINST DEFENDANTS

                                       COUNT I
                  Violations of Section 10(b) of the Exchange Act and
                      Rule 10b-5 Promulgated Thereunder
                              Against All the Defendants
      74.    Plaintiff repeats and realleges each and every allegation contained

above as if fully set forth herein. This claim is asserted against all Defendants.




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      75.    During the Class Period, Credit Acceptance and the Individual

Defendants carried out a plan, scheme and course of conduct which was intended to

and, throughout the Class Period, did: (i) deceive the investing public, including

Plaintiff and the other Class members, as alleged herein; (ii) artificially inflate and

maintain the market price of Credit Acceptance common stock; and (iii) cause

Plaintiff and the other members of the Class to purchase Credit Acceptance common

stock at artificially inflated prices. In furtherance of this unlawful scheme, plan and

course of conduct, Defendants, and each of them, took the actions set forth herein.

      76.    These Defendants: (a) employed devices, schemes, and artifices to

defraud; (b) made untrue statements of material fact and/or omitted to state material

facts necessary to make the statements not misleading; and (c) engaged in acts,

practices and a course of business which operated as a fraud and deceit upon the

purchasers of the Company’s securities in an effort to maintain artificially high

market prices for Credit Acceptance common stock in violation of Section 10(b) of

the Exchange Act and Rule 10b-5 promulgated thereunder. The Exchange Act

Defendants are sued as primary participants in the wrongful and illegal conduct

charged herein. The Individual Defendants are also sued herein as controlling

persons of Credit Acceptance, as alleged herein.

      77.    Credit Acceptance and the Individual Defendants, individually and in

concert, directly and indirectly, by the use of means or instrumentalities of interstate

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commerce and/or of the mails, engaged and participated in a continuous course of

conduct to conceal adverse material information about the business, business

practices, performance, operations and future prospects of Credit Acceptance as

specified herein. These Defendants employed devices, schemes and artifices to

defraud, while in possession of material adverse non-public information and

engaged in acts, practices, and a course of conduct as alleged herein in an effort to

assure investors of Credit Acceptance’s value and performance and substantial

growth, which included the making of, or the participation in the making of, untrue

statements of material facts, and omitting to state material facts necessary in order

to make the statements made about Credit Acceptance and its business, operations

and future prospects, in light of the circumstances under which they were made, not

misleading, as set forth more particularly herein, and engaged in transactions,

practices and a course of business which operated as a fraud and deceit upon the

purchasers of Credit Acceptance’s common stock during the Class Period.

      78.    Each of the Individual Defendants’ primary liability, and controlling

person liability, arises from the following facts: (i) each of the Individual Defendants

was a high-level executive and/or director at the Company during the Class Period;

(ii) each of the Individual Defendants, by virtue of his responsibilities and activities

as a senior executive officer and/or director of the Company, was privy to and

participated in the creation, development and reporting of the Company’s

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operational and financial projections and/or reports; (iii) the Individual Defendants

enjoyed significant personal contact and familiarity with each other, and were

advised of and had access to other members of the Company’s management team,

internal reports, and other data and information about the Company’s financial

condition and performance at all relevant times; and (iv) the Individual Defendants

were aware of the Company’s dissemination of information to the investing public

which they knew or recklessly disregarded was materially false and misleading.

      79.    These Defendants had actual knowledge of the misrepresentations and

omissions of material facts set forth herein, or acted with reckless disregard for the

truth in that they failed to ascertain and to disclose such facts, even though such facts

were readily available to them. Such Defendants’ material misrepresentations

and/or omissions were done knowingly or recklessly, and for the purpose and effect

of concealing Credit Acceptance’s operating condition, business practices and future

business prospects from the investing public and supporting the artificially inflated

price of its common stock. As demonstrated by their overstatements and

misstatements of the Company’s financial condition and performance throughout

the Class Period, the Individual Defendants, if they did not have actual knowledge

of the misrepresentations and omissions alleged, were severely reckless in failing to

obtain such knowledge by deliberately refraining from taking those steps necessary

to discover whether those statements were false or misleading.

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      80.    As a result of the dissemination of the materially false and misleading

information and failure to disclose material facts, as set forth above, the market price

of Credit Acceptance common stock was artificially inflated during the Class Period.

In ignorance of the fact that the market price of Credit Acceptance shares was

artificially inflated, and relying directly or indirectly on the false and misleading

statements made by Defendants, upon the integrity of the market in which the

common stock trade, and/or on the absence of material adverse information that was

known to or recklessly disregarded by the Exchange Act Defendants but not

disclosed in public statements by these Defendants during the Class Period, Plaintiff

and the other members of the Class acquired Credit Acceptance common stock

during the Class Period at artificially inflated high prices and were damaged thereby.

      81.    At the time of said misrepresentations and omissions, Plaintiff and the

other members of the Class were ignorant of their falsity, and believed them to be

true. Had Plaintiff and the other members of the Class and the marketplace known

of the true performance, business practices, future prospects and intrinsic value of

Credit Acceptance, which were not disclosed by the Exchange Act Defendants,

Plaintiff and the other members of the Class would not have purchased or otherwise

acquired Credit Acceptance common stock during the Class Period, or, if they had

acquired such securities during the Class Period, they would not have done so at the

artificially inflated prices which they paid.

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      82.    By virtue of the foregoing, Credit Acceptance and the Individual

Defendants each violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

      83.    As a direct and proximate result of the Individual Defendants’ wrongful

conduct, Plaintiff and the other members of the Class suffered damages in

connection with their purchases of the Company’s common stock during the Class

Period.

                                      COUNT II
                  Violations of Section 20(a) of the Exchange Act
                        Against The Individual Defendants
      84.    Plaintiff repeats and realleges each and every allegation contained

above as if fully set forth herein.

      85.    The Individual Defendants were and acted as controlling persons of

Credit Acceptance within the meaning of Section 20(a) of the Exchange Act as

alleged herein.     By virtue of their high-level positions with the Company,

participation in and/or awareness of the Company’s operations and/or intimate

knowledge of the Company’s actual performance, the Individual Defendants had the

power to influence and control and did influence and control, directly or indirectly,

the decision-making of the Company, including the content and dissemination of the

various statements which Plaintiff contends are false and misleading. Each of the

Individual Defendants was provided with or had unlimited access to copies of the

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Company’s reports, press releases, public filings and other statements alleged by

Plaintiff to be misleading prior to and/or shortly after these statements were issued,

and had the ability to prevent the issuance of the statements or cause the statements

to be corrected.

      86.    In addition, each of the Individual Defendants had direct involvement

in the day-to-day operations of the Company and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the

securities violations as alleged herein, and exercised the same.

      87.    As set forth above, Credit Acceptance and the Individual Defendants

each violated Section 10(b) and Rule 10b-5 by their acts and omissions as alleged in

this Complaint. By virtue of their controlling positions, the Individual Defendants

are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of these Defendants’ wrongful conduct, Plaintiff and the other members of the

Class suffered damages in connection with their purchases of the Company’s

common stock during the Class Period.

XII. PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for

judgment as follows:




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      a)    Declaring this action to be a class action pursuant to Rule 23(a) and

            (b)(3) of the Federal Rules of Civil Procedure on behalf of the Class

            defined herein;

      b)    Awarding Plaintiff and the other members of the Class damages in an

            amount which may be proven at trial, together with interest thereon;

      c)    Awarding Plaintiff and the other members of the Class pre-judgment

            and post-judgment interest, as well as their reasonable attorneys’ fees

            and experts’ witness fees and other costs; and

      d)    Awarding such other relief as this Court deems appropriate.

XIII. JURY TRIAL DEMANDED
           Plaintiff hereby demands a trial by jury.


Dated: October 2, 2020               Respectfully Submitted,

                                     /s/ E. Powell Miller_______
                                     E. Powell Miller (P39487)
                                     Sharon S. Almonrode (P33938)
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